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                                        2567
                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 v.                                                §    CRIMINAL NO. 4:05CR173
                                                   §
 TERVARIAN DANIEL LEWIS (13)                       §

                MEMORANDUM ADOPTING REPORT AND
        RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the above-referenced criminal action, this court having

 heretofore referred the request for revocation of Defendant’s supervised release to the United

 States Magistrate Judge for proper consideration. The court has received the report of the United

 States Magistrate Judge pursuant to its order. Defendant having waived allocution before this

 court as well as his right to object to the report of the Magistrate Judge, the court is of the opinion

 that the findings and conclusions of the Magistrate Judge are correct.

        It is, therefore, ORDERED that the Magistrate Judge’s Report is ADOPTED as the

 opinion of the court. It is further ORDERED that Defendant’s supervised release is hereby

 REVOKED. It is further ORDERED that Defendant be committed to the custody of the Bureau

 of Prisons to be imprisoned for a term of ten (10) months with no supervised release to follow.

 The Court further recommends that Defendant’s term of imprisonment be carried out in the Bureau

 of Prisons facility located in Seagoville, Texas, if appropriate.

        IT
         . IS SO ORDERED.
        SIGNED at Beaumont, Texas, this 7th day of September, 2004.
        SIGNED at Beaumont, Texas, this 25th day of March, 2013.




                                             ________________________________________
                                                         MARCIA A. CRONE
                                                  UNITED STATES DISTRICT JUDGE
